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                                UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF MAINE

ANTHONY FRANCIS,

        Plaintiff

v.                                                         Civil Action No. 1:19-cv-00434-JAW

KAMAN INDUSTRIAL TECHNOLOGIES,
CORPORATION

        Defendant.


                        STIPULATION OF DISMISSAL, WITH PREJUDICE

        The parties, through their attorneys, hereby stipulate to the dismissal of this action, with prejudice

and without costs or interest to either party, pursuant to Fed.R.Civ.P. 41(a)(1)(A)(ii).


                                                  Respectfully Submitted,

Date: March 12, 2020                              By:      /s/ Stephen C. Smith
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